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UNITED STATES DISTRICT COURT

DISTRICT OF COLUMBIA

Civil Division

JAQUIA BUIE

1449 Shippen Lane, SE

Washington, D.C. 20020
Plaintiff,

VS.

DISTRICT OF COLUMBIA, a
Municipal Corporation, and
MURIEL E. BOWSER, Mayor of
the District of Columbia

Office Of Risk Managernent
ATTN: Claims

441 4th Street, N.W., Suite 800 South :

Washington, DC 20001
and

DARRELL L. BEST,
Register Number: 61864-007
FCI Milan
Federal Correctional lnstitution
P.O. BOX 1000
Milan, MI 48160

Defendants

 

: Civil Action No. 1:16-cv-01920

COMPLAINT

COMES NOW the Plaintiff, Jaquia Buie, by Counsel,

moves for the relief Stated herein on the grounds Set forth below:

and

 

 

 

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I. JURISDICTIONAL STATEMENT

Jurisdiction of this Court in this matter is predicated upon the
provisions of D.C. Code §§ 11-921, 13-422 and 13-423; 42 U.S.C.A. § 1983;
Judicial Code, 28 U.S.C.A. § 1331 for violations under the Fourth and Fifth
Amendments of the Constitution of the United States; and the Court’s
supplementary jurisdiction powers pursuant to 28 U.S.C. § 1367(a). Venue
is in the District of Columbia pursuant to 28 U.S.C.A. § 1391(b)(1) since the
events and breaches relevant to this complaint occurred in the District of
Columbia.

II. PARTIES

1. Plaintiff Jaquia Buie (“l\/ls. Buie” or “Jaquia”) is
currently nineteen (19) years old, Was and continues to be, a resident of the
District of Columbia and a citizen of the United States.

2. Defendant District of Columbia (“Defendant District”) is,
and at all relevant times, Was a municipal corporation that is capable of
suing and being sued in the District of Columbia. Defendant District
operates the District of Columbia Metropolitan Police Department (“l\/[PD”).
Muriel E. Bovvser is the l\/[ayor of Washington, D.C., and as such, is
responsible for the MPD and its personnel

3. At all times relevant to this complaint, Defendant

Darrell L. Best (“Best”), Was an employee, agent and/or servant of the l\/[PD,

 

 

 

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armed and in full police uniform, acting under color of state law and within

the course and scope of his employment Best is sued in both his official and

 

 

individual capacities. Defendant l\/[ayor is sued in her official capacity as
the Defendant District.
III. ALLEGATIONS

A. Background Facts

4. Officer Best had a history of unwanted sexually-oriented
misconduct and harassment involving female colleagues at the l\/lPD.
Although some incidents were reported to the agency’s eXecutives, the l\/IPD
failed to address them properly and, thereby, knowingly ignored a pattern of
sexual misconduct and harassment that violated MPD’s official policy and
was sufficient to constitute a custom.

5. In 2007, Best supervised, among others, a twenty-year-
old female cadet at the police academy. The cadet reported that Best
cornered her in a coatroom, closed the door, groped her, forcibly fondled her
buttocks and her breasts, and pressed his lips and tongue against her
neck_all against her will. The same cadet also reported that officer Best
had sexually harassed her before the incident and did so again after.

6. On information and belief, the l\/[PD took no action

against Best, a decision that was plainly inconsistent with l\/[PD policy

 

 

 

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regarding offenses and penaltiesl MPD’s default penalty for such
l z misconduct is, and was at that time, termination

7. lndeed, instead of punishing Best, in March of 2008,
Best, a sergeant at the time, was honored with the distinction of being

chosen to give the lnvocation and the Benediction following MPD Chief of

 

Police Cathy L. Lanier’s remarks at the MPD’s annual Awards Ceremony

' for outstanding police officers.

 

8. Later in 2008, a female colleague reported that Best
made inappropriate comments to her about taking her to a hotel and giving
her a massage. This colleague also reported that Best hit her on the
buttocks as she left the room in police headquarters

9. When confronted with this second offence, Best’s
supervisors in the l\/IPD, pursuant to written policy, should have terminated
him summarily, particularly in light of the first offense. lnstead, they only
demoted him from sergeant to officer.

10. This decision allowed Best to remain in the department
and to continue to victimize female colleagues, but_more importantly_left
him in a position to prey on an even more vulnerable and unwitting public

while cloaked in, and empowered by, the imprimatur of the state.

 

 

 

 

 

 

 

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11. A third MPD colleague also reported that Best
inappropriately groped her buttocks in a police precinct. This colleague was
a new recruit at the time, and Best Was a senior officer.

12. A former female police officer Went public, alleging that
Best had also made inappropriate sexual advances towards her in the police
precinct where they both worked, telling her that he was “untouchable,” and
asking, “What are they going to do to me?”

13. She said that she didn’t report the incident because she

 

was afraid it would negatively affect her career. She explained that coming
forward with something negative about the department, such as an
allegation of sexual misconduct against a fellow officer, Would get the
complaining officer blackballed.

14. All of these incidents took place in police headquarters
or in other facilities under the auspices of the police department Together,
they are evidentiary of a deliberate indifference to sexual harassment and
assault, which led to a systemic deficiency in the manner in which the MPD
trains, supervises and disciplines its police officers. Defendant District’s
police leadership effectively condoned Best’s misconduct and allowed it to
continue.

15. Best is a member of the infamous crop of recruits who

joined the DC police force from 1989 through 1990. His perverted conduct

 

 

 

 

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toward adult females and minors is just one more foul development arising

 

 

from that now notorious cohort.

16. On information and belief, Chief Lanier and Officer Best
were members together of the MPD 1989-90 cohort of recruits, which former
U.S. ambassador Richard W. Carlson once described as, aside from Lanier, a
“human train Wreck.”

17. The Washington Post quoted former inspector William B.
Riley, who spearheaded the l\/[PD’s disciplinary process in 1991, as having
said, “There is a problem with the classes hired in 1989 and 1990 and with
the supervision of them.” He said that the “glut of problems” defied simple
statistical attribution or classification as rookie indiscretions.

18. Officer Best is also the latest in a series of l\/[PD officers
publicly disgraced or convicted of sexual crimes involving minor females in
the District of Columbia. Veteran MPD officer Wendel Palmer was
convicted of sexual assault of a 10-year old female from 2004 to 2006; officer
Linwood Barnhill, Jr., a 24-year veteran of the l\/[PD, was convicted of
running a prostitution ring of underage females in 2014; and officer Marc
Washington was accused of sexually assaulting a 15-year old female in her
bedroom in 2013. l\/[PD placed a fellow officer on desk-duty, who was under
suspicion of providing improper advance notice to officer Washington that

MPD personnel were headed to his dwelling to arrest him. This gave

 

 

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Washington an opportunity to purge his computer of inculpatory evidence.

 

A police dispatcher also reportedly had sent text of the mother’s complaint

to computer screens of officers throughout the 7@h District, where

 

Washington was assigned

19. The Chief of Police, herself, brought a sexual
harassment suit against the department in 1995, when an officer, similar to
Best, directed comments about oral sex at Chief Lanier. She won a $75,000
§ settlement
.§ 20. ln 2013, after releasing a Human Rights Watch report
evaluating the police handling of sexual assault cases in the District of
Columbia, the author of the report described the l\/[PD on the editorial page
of the Washington Post as having a police culture that fails to take sexual
assault seriously

21. Former MPD sergeant Alfred Richmond, who worked
with Chief Lanier for years, in an interview broadcast on WAMU 88.5 on
August 23, 2016, said, “lt was institutional knowledge that those type of
incidents Were occurring throughout the department.”

B. The Police Headquarters Incident

22. Metropolitan Police Department’s General Order on

Disciplinary Procedures and Processes sets forth a list of prohibited police

offenses.

 

 

 

 

 

 

 

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23. Among those offenses is “l\/lisuse of official position, or
unlawful coercion of an employee for personal gain or benefit.”

24. In 2007, when then Sergeant Best sexually groped the
twenty-year-old female cadet, he engaged in unlawful coercion of an
employee for personal gain or benefit.

25. The default mandatory penalty for even a first offense of
unlawful coercion of an employee for personal gain or benefit is removal
from the department, i.e. termination

26. As a result of l\/lPD’s failure to adhere to its written
policy and terminate officer Best, years later_with at least one additional
intervening reported sexually-oriented offense by Best_l\/ls. Buie became a
sexual abuse victim at the hands of officer Best in l\/IPD headquarters

27. On or about the evening of December 3, 2014, officer
Best, then an MPD officer, With physical force, psychic pressure, and
authoritative intimidation, sexually abused Jaquia Buie, at MPD
headquarters, located at 300 lndiana Avenue in Washington, DC.

28. Officer Best was 45 years old and a 25-year veteran of
the MPD at the time, Jaquia was a minor.

29. The abuse took place in his office on the fifth floor of
police headquarters, the floor Where top MPD officials, including Chief

Lanier, have offices. Officer Best took Ms. Buie past Chief Lanier’s office

 

 

 

 

 

 

 

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before abusing her. On information and belief, Chief Lanier was in her
office at the time, door ajar, office lights on, and voices audible.

30. On December 3, 2014, Best picked young l\/ls. Buie up at
a l\/[etro stop in an unmarked police-issued Dodge Avenger. Best drove her
to Georgia Brown’s restaurant on 15th Street, N.W. He was in full police
uniform and armed.

31. Pursuant to l\/lPD policy regarding police uniforms and
equipment, an officer may wear full police uniform only when on active
duty.

32. On information and belief, the December 31“d dinner
engagement took a demoralizing and lubricious turn when officer Best
began to ask Jaquia about her vagina, using lasciviously, however, a non-
clinical, colloquial moniker for that female body part.

33. Officer Best’s words initially stunned l\/ls. Buie, and she
asked officer Best not to speak to her that way.

34. He nonetheless persisted, and she told him that she
wanted to go home. Best offered to take her home. She told him strongly
that she would rather take the Metro and was equipped with the resources
to do so. Despite her appeals to the contrary, he insisted that he would

drive her home. He was in full police uniform and armed, so she acquiesced

 

 

 

 

 

 

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35. Once they were in the car and began what Jaquia was
told would be the drive home, she found the route unfamiliar and inquired
about the apparent discrepancy Officer Best responded that he needed to
go to l\/[PD headquarters on business before bringing her home. Ms. Buie
protested, but officer Best ignored her and compelled her to go with him.
Officer Best forced l\/ls. Buie, against her will, to go to l\/[PD headquarters

36. The entrance to the underground garage at police
headquarters was not a dimension of the facility available to the public;
officer Best accessed it with his police credentials while driving an official
vehicle.

37. At police headquarters she asked, at least, to stay in the
car, but officer Best ordered her to get out of the car and come with him.
She did not believe that she had any choice except to obey him, because he
was a police officer, she was in a police car, and she was now_albeit
completely against her will_at police headquarters Although she was
afraid, seeing no other option, she obeyed his order.

38. Using his pass to access an elevator from the garage into
l\/[PD headquarters officer Best brought Ms. Buie to his office and sexually
abused her.

39. According to the United States Attorney’s Office, Best’s

detention of l\/ls. Buie at police headquarters lasted approximately one hour

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and was corroborated by surveillance footage, l\/[PD card-reader records and
MPD car records

40. As a result of Best’s abuse of her, Ms. Buie has suffered,
and continues to suffer from, severe emotional distress, including but not
limited to, fear, anxiety, depression, uncharacteristic pessimism,
faithlessness, significant changes to her bodily appearance (in the form of
significant weight-gain resulting from the event), as well as humiliating
feelings of Worthlessness, sleeplessness, and disturbing involuntary
memories of the abuse.

41. On February 26, 2016, a Federal Court Judge found
Officer Best guilty of sexual abuse of a minor in a significant relationship
for his perverse actions against Ms Buie, as well as_in a separate offense
involving a different minor_production of child pornography and repeated
sexual assaults, also while in police uniform.

42. Acquiescing to a plea agreement involving both victims,
a Federal District Court Judge disregarded what he, himself, articulated in
open court as his own, native inclination to sentence officer Best, effectively,
to life in prison, and sentenced him to a comparatively light sentence of 18
years in prison. Officer Best faced a maximum sentence of 52 years He

will be on a registry for sex offenders for the rest of his life.

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43. After Best’s sentencing, Chief Lanier, Best’s longtime
colleague, told the Washz`ngton Informer that “Best had used the trust he
had built within the community as a pastor and a police officer to take
advantage of those who relied on him,” yet she expressed no institutional
responsibility for his actions

V. COUNTS
COUNT ONE
Deprivation of Liberty and Right to Bodily Integrity
(42 U.S.C.A.§ 1983)

Due Process Clause of the Fifth Amendment

44. Plaintiff incorporates by reference paragraphs 1-43 as
though fully set forth herein.

45. Officer Best was at all relevant times an employee of
MPD, a department within the Defendant District, and acting under color of
District of Columbia law.

46. Defendant District is a person within the meaning of 42
U.S.C.A. § 1983 and at all relevant times conducted itself under the color of
the District of Columbia’s statutes and MPD’s general orders regulations
and customs

47. l\/ls. Buie has a constitutional right to liberty and bodily

integrity.

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48. l\/[PD official policy requires it to terminate officers who
misuse their official position or unlawfully coerce another employee for
personal gain or benefit MPD violated its own general order by failing to
terminate officer Best after it knew that he had sexually assaulted at least
two female officers

49. MPD official policy requires that police officers wear
uniforms only when on active duty. MPD failed to enforce this general
order.

50. l\/[PD’s failure to follow these general orders is its
common practice and custom, and it should have been obvious or have put
Defendant District on notice, that violations of these orders would lead to
constitutional violations like those suffered by l\/ls. Buie.

51. The Defendant District failed, and continues to fail, to
provide adequate sanctions training, and supervision of l\/[PD police officers
in general, including those who it knows or should have known, have
committed sexual misconduct

52. Defendant District’s failure to follow l\/[PD policies and
its failure to provide adequate training, sanctions and discipline has allowed
sexual misconduct to proliferate within the l\/[PD and amounts to deliberate
indifference or gross negligence, giving l\/[PD officers the belief they can

engage in such actions with impunity.

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53. lt is likewise the practice of the Defendant District not
to enforce its regulations regarding police uniforms and equipment and to
allow l\/IPD officers the use of MPD police uniforms and equipment such as
cars passes and firearms without appropriate supervision and sanctions

54. Defendant District’s customary disregard of MPD
regulations and its lax supervision of uniforms and equipment, when there
was an obvious need for the Defendant to control the indicia of police
authority, amounts to deliberate indifference to the constitutional rights of
those who come into contact with the MPD.

55. Defendant District has allowed l\/[PD violations of the
above policies and its pervasive custom of laxity toward sexual misconduct
to exist unchecked for many years despite its knowledge of past
unconstitutional conduct of MPD officers

56. When officer Best seized Ms. Buie, without
constitutional basis to detain her, Defendant District deprived l\/[s. Buie of
her liberty without due process of law.

57. ln addition, l\/[s Buie was in the custody of Defendant
District when she was taken to police headquarters and up to the fifth floor

office against her will.

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58. Defendant District created a special relationship with

 

l\/ls. Buie and owed her an affirmative duty to protect her from harm while

 

‘ she was in custody.
59. Defendant District failed to protect her and violated Ms.
Buie’s constitutional right to bodily integrity when officer Best sexually
abused her.

60. Defendant District’s failure to terminate, train, or

supervise officer Best and its failure to follow MPD disciplinary procedures

 

and regulations regarding uniforms and equipment created and increased
the danger that l\/[s. Buie would be deprived of her liberty and her right to
bodily integrity.

61. The sexual abuse of l\/ls. Buie was a direct consequence
of the Defendant District’s failure to protect her after a special relationship
was created and of its customs that created and increased the danger that
she would be sexually abused

62. ln continuing to afford officer Best the rights honors
badges presumptions and privileges of being an MPD police officer,
Defendant District acted with deliberate indifference, reckless disregard
and gross negligence because it had knowledge of Best’s prior sexual

misconduct, and yet failed to supervise or sanction him in such a manner to

 

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prevent such further misconduct from recurring under the mantle of police

authority

63. Defendant District’s failure affirmatively to correct these
customs created the danger and proximately caused the disregard of l\/[s.
Buie’s constitutional rights

64. The brazen conduct of officer Best, which the Defendant
District enabled by its deliberate indifference, reckless disregard and gross
indifference of Ms. Buie’s safety, shocks the conscience and goes beyond the
bounds of all decency

65. As a direct and proximate result of Defendant’s
violations of her constitutional rights l\/[s. Buie has suffered severe pain,
emotional distress and substantial damages

COUNT TWO
Unlawful Seizure by a Police Officer
(42 U.S.C.A.§ 1983) Fourth Amendment

66. Plaintiff incorporates by reference paragraphs 1-65 as
though fully set forth herein.

67. Officer Best used his status as a police officer to restrain
Ms. Buie’s liberty

68. When officer Best unilaterally decided to take l\/[s. Buie
to police headquarters against her will, she was not free to leave and in

custody

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69. Best seized l\/.[s Buie, knowing that he had no
constitutional basis to detain Ms. Buie.

70. Cfficer Best’s actions amounted to unreasonable seizure
of l\/[s Buie, violating her Fourth Amendment right.

71. Defendant District owed l\/ls. Buie a constitutional duty
of care once she was detained

72. Defendant District breached its duty to protect l\/ls. Buie
by failing to prevent officer Best from unlawfully detaining her against her
will and then sexually abusing her inside MPD headquarters

73. The unlawful detainment of l\/ls. Buie against her will
was the direct and proximate cause of the disregard of Ms. Buie’s
constitutional rights

74. The brazen conduct of officer Best, which the Defendant
District enabled by its deliberate indifference and reckless disregard of l\/ls
Buie’s safety, shocks the conscience and goes beyond the bounds of all
decency

75. As a direct and proximate result of Defendant’s
violations of her constitutional rights Ms. Buie has suffered severe pain,

emotional distress and substantial damages

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C_OM
(Against the District of Columbia)
Injunctive Relief'

76. Plaintiff incorporates by reference paragraphs 1-75 as
though fully set forth herein.

77. Defendant District’s violations of l\/IPD policies and
customs described herein are a direct and proximate cause of the violation of
Ms. Buie’s constitutional rights and the constitutional rights of other
citizens

78. As a direct result, l\/ls. Buie is suspicious of all male
MPD police officers fearing further loss of personal liberty and personal
violation.

79. l\/.[s. Buie requests that the Defendant District be
enjoined from failing to train, supervise and discipline its MPD police
officers in an adequate manner.

80. Ms. Buie suffers and will continue to suffer, irreparable
injury if the Defendant District continues to allow the MPD to conduct itself
as alleged herein.

81. There is an imminent threat that l\/ls. Buie, or other
young women similarly situated to her, will suffer the same harm that she
has suffered if the Defendant District allows the culture of MPD sexual

misconduct to continue.

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COUNT FOUR
Negligence

 

82. Plaintiff incorporates by reference paragraphs 1-81 as
though fully set forth herein.

83. At all relevant times, Defendant District and its agents
and employees owed a special duty of care to safeguard Ms. Buie from harm
once officer Best put her in his police car, purportedly to drive her home,
l and drove her to police headquarters against her will.

84. Officer Best was at all relevant times acting under color
l of police authority of Defendant District

85. Defendant District has a general duty to protect citizens
from sexual misconduct of l\/IPD officers acting within the scope of their
employment when previous instances of the same type of harm are known,
or should have been known, and it was foreseeable that the absence of
proper supervision permits recurrence of the same misconduct

86. Defendants breached the duty of care owed to Ms. Buie
when officer Best subsequently sexually abused her in police headquarters

87. Defendant District acted negligently and with deliberate
indifference by its repeated failure to supervise Best, its employee and
agent, thereby condoning the officer Best’s conduct and therefore, any

liability for his actions is imputed to the Defendant District

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88. As a direct and proximate result of Defendant’s

 

negligence, Ms. Buie has suffered and will continue to suffer severe and

consequential damages

 

COUNT FIVE
(Against the District of Colurnbia)
Negligent Entrustment

89. Plaintiff incorporates by reference paragraphs 1-88 as
though fully set forth herein.

90. Best’s employment as a MPD police officer provided him
with a unique opportunity and even an incentive, to use the indicia of police
§ authority sexually to assault l\/ls. Buie. Defendant District negligently
entrusted Best with a police uniform, weapon, police car and security passes
to l\/[PD headquarters in violation of MPD’s regulations

91. Defendant District’s negligent entrustment allowed
officer Best to wield the authority entrusted to him unchecked and in a way
that leveraged and facilitated opportunities to exploit sexually and
victimize, as an MPD police officer, citizens such as l\/ls. Buie.

92. Defendant District had a duty to protect l\/ls. Buie, a
minor female, not to enable one of its sworn officer’s wrongfully to deprive
her of her liberty by telling her that he would drive her home and taking her
to police headquarters instead and then by misusing her sexually through

§ abusive deployment of the indicia of police authority

 

 

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93. Defendant District breached this duty by negligently
entrusting MPD equipment to officer Best, which allowed him to use the
indicia of police authority to sexually abuse l\/[s. Buie.

94. l\/ls Buie’s injuries were directly and proximately caused
by Defendant District’s breach.

95. As a direct and proximate result of Defendant’s
negligence, Ms. Buie has suffered and will continue to suffer severe and
consequential damages

COUNT SIX
(Against the District of Columbia)
Negligent Retention

96. Plaintiff incorporates by reference paragraphs 1-95 as
though fully set forth herein.

97. Defendant District failed to terminate Best after he
misused his position as sergeant and sexually coerced a female cadet for his
own personal benefit in violation of l\/IPD regulations

98. Defendant District knew, or should have known, that
officer Best’s previous sexual misconduct constituted a pattern of behavior
that made it known and foreseeable that he would prey on females while he
was in police uniform.

99. Defendant District had a duty to protect females

especially minor females from sexual misconduct by one of its own police

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officers whom it knew was a sexual predator. Defendant District owed a
special duty to l\/ls. Buie once she was in officer Best’s custody

100. Defendant District breached its duty to protect l\/[s. Buie
by failing to fire officer Best for his prior known sexual misconduct and/or
by failing to place officer Best in a position that prevented him from
engaging in inappropriate contact in police headquarters with Ms. Buie
while he was in police uniform.

101. Ms. Buie’s injuries were directly and proximately caused
by Defendant District’s breach.

102. As a direct and proximate result of Defendant’s
negligence, Ms. Buie has suffered and will continue to suffer severe and
consequential damages

COUNT SEVEN
Negligent Inf'liction of Emotional Distress

103. Plaintiff incorporates by reference paragraphs 1-102 as

though fully set forth herein.

104. By using his police authority endowed by the MPD,
officer Best placed Ms. Buie in a zone of danger, causing her to fear for her
safety

105. Defendant District knew, or should have known, that

given officer Best’s past misconduct in police facilities while in uniform, it

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was especially likely that he would improperly detain Ms. Buie and sexually
assault her, which would result in serious emotional distress to Ms. Buie.

106. Defendant District breached its duty to protect l\/[s. Buie
from officer Best.

107. The breach of the Defendant District’s duty was the
direct and proximate cause of the serious emotional distress suffered by Ms.
Buie.

108. Officer Best’s sexual assault of l\/ls Buie is outrageous
both shocking the conscience and going beyond all possible bounds of
decency

109. As a direct and proximate result of Defendant’s
negligence, Ms Buie has suffered and will continue to suffer severe and
consequential damages

COUNT EIGHT
Intentional Inf'liction of Emotional Distress

110. Plaintiff incorporates by reference paragraphs 1-109 as
though fully set forth herein.

111. At all relevant times Defendant District failed to
supervise officer Best, who was known, or should have been known, by

Defendant as a sexual predator.

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112. As a direct consequence of Defendant District’s failure to
supervise officer Best, he was able to abuse his position as a police officer
and the equipment provided to him by Defendant District, as well as his
office in l\/IPD headquarters sexually to abuse l\/ls. Buie.

113. Defendant District’s failure to supervise Best was
intentional and in deliberate disregard of a high degree of probability that
emotional distress would result to l\/Is Buie.

114. Officer Best’s conduct was intentional, willful and
malicious
§§ 115. As a result, Ms Buie has suffered, and will continue to
j z suffer, severe, lasting and extreme emotional distress

COUNT NINE

Sexual Abuse of a Minor

116. Plaintiff incorporates by reference paragraphs 1-115 as
though fully set forth herein.

117. Officer Best sexually abused l\/ls Buie with force in his
office on the fifth floor of MPD headquarters and was convicted of sexual
abuse of a minor in a significant relationship

118. Officer Best acted with the intent to sexually abuse l\/ls.

Buie, and his conduct was perpetrated with reckless disregard for her safety

and well-being.

 

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119. Officer Best’s actions put Ms. Buie in reasonable fear of
imminent battery

120. Best intentionally touched Ms. Buie’s breasts and other
parts of her body in an offensive and wanton manner, and forcibly pressed
himself upon her sexually, with his penis exposed, against her will.

121. As a result of Best’s actions Ms. Buie has suffered

 

physical and mental injury and will continue to suffer severe mental
anguish

COUNM
Breach of Fiduciary Duty

122. Plaintiff incorporates by reference paragraphs 1-121 as
though fully set forth herein.

123. Officer Best, by insisting on driving Ms. Buie home on
December 3, 2014, induced her to believe he was acting in her interest As a
result, Ms. Buie got into his police car, giving Best dominion over her.

124. Best created a fiduciary duty to act for her benefit in
good faith and without self-interest

125. Best breached this duty by, against her will, driving her

to police headquarters instead and sexually abusing her.

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126. As a result of the breach of his fiduciary duty to l\/[s.
Buie, she suffered and continues to suffer, severe anxiety and mental and
physical distress

WHEREFORE, Plaintiff demands compensatory damages
from Defendants in the amount of Twenty l\/lillion Dollars ($20,000,000.00
USD), plus punitive damages to the extent allowed by law, and attorney’s
fees interest and costs against Defendants

Plaintiff demands injunctive relief requiring Defendant
District to implement an appropriate plan to supervise, train, and sanction
MPD regarding sexual assault and abuse and to comply with l\/[PD’s current
regulations

lf officer Best is found liable on any count, Plaintiff demands
that Defendant District pay the full amount of any judgment obtained
against officer Best;

And for such other and further relief as the Court deems just

and equitable.

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l solemnly affirm under the penalties of perjury that the

contents of the foregoing paper are true to the best of my knowledge,

information, and belief.

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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all claims that are triable.

Respectfully submitted,

sMITH T , LI>c

By: "/
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Attorneys for Plaintiff

September z ii ,2016

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